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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

ASSOCIATED BUILDERS AND
CONTRACTORS OF MICHIGAN,
        Plaintiff,                         Case No. 23-cv-00277
v.                                         Hon. Robert J. Jonker
JENNIFER A. ABRUZZO, in her
official capacity as GENERAL
COUNSEL NATIONAL LABOR
RELATIONS BOARD,
        Defendant.




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                              NOTICE OF APPEAL

     Notice is hereby given that Associated Builders and Contractors of Michigan

appeals to the United States Court of Appeals for the Sixth Circuit from the District
Case 1:23-cv-00277-RJJ-RSK ECF No. 26, PageID.429 Filed 08/30/23 Page 2 of 2




Court’s Judgment entered on July 31, 2023 [Dkt. #24] and its Opinion and Order

[Dkt. #23] of the same date.



       AUGUST 30, 2023         Respectfully submitted,

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